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UNITED sTATEs oF AMERiCA, DAT‘E fl_l‘£l_)_ '} l

-against- Sl l7~cr~357 (LAW)
DAvlt) nLAsZCZAK, er ai.,
Defendants.

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MEMORANDUM AND OR])ER

LEWIS A. KAPLAN, District .]udge.

Defendants move for an order permitting them four peremptory challenges in addition
to the ten already granted them by Rule 24, and providing that one of the four additional challenges
be exercisable by each defendant They point out that they collectively come at the case from three
different perspectives ~ Blaszczak having been employed by a political intelligence firm, Worrall
by a government agency, and Huber and Olan by an investment fund. On this basis, they contend
that members of the jury pool might have significantly different views as to the defendants “based
on Where [a particular defendant] Worl<ed and the role he is alleged to have played in the charged
offenses.” DI 149, at 2. Accordingly, they argue, “each defendant Will have to address Whether
potential jurors have prejudices that might prevent that particular defendant from receiving a fair
tria .”

The application overlooks the fact that the voir dire should expose potentially
prejudicial views With respect to any defendant or defendants, whether based on Where a defendant

Worked or something else. Challenges for cause may be made by any defendant individually and,

 

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Where meritorious, Will be granted Hence, the need for additional peremptory challenges is rather
speculative Moreover, the Court sees no obstacle to the defendants agreeing among themselves as
to the manner in Which the peremptory challenges allotted to the defense Will be exercised -
unanimously, by majority vote, some unanimously and the balance by individual defendants , some
by majority vote and the balance by individual defendants, or in some other Way agreeable to all.

Accordingly, the application for additional peremptory challenges [Dl 149] is denied
ln the absence of agreement among the defendants, the defendants’ exercise of each peremptory
challenge shall be unanimous E.g., UnitedStates v. Lopez, 649 F.3d 1222, l243~44 (l lth Cir. 2011)
(following UnitedSrares v. Aloi, 51 l F.2d 5 85. 598 (2d Cir. 1975)); UnitedStareS v. McClendon, 782
F.2d 785, 788 (9th Cir.l986); United Sz‘ates v. Hooper, 575 F.2d 496, 498 (Sth Cir.l978); United
Srates v. Williams, 463 F.2d 393, 395 (l-Uth Cir.l972). Any such agreement shall be set forth in a
stipulation executed by all defendants and filed before the commencement ofvoir dire. Defendants’
application may be renewed after all challenges for cause have been ruled upon.

SO ORDERED.

Dated: March 19, 2018

 

Lewis A'. l?ap an
United States District ludge

 

